            Case 1:17-cv-00228-SPB Document 86 Filed 01/29/19 Page 1 of 3




                          UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF PENNSYLVANIA

MONTRICE BOLDEN,
              Plaintiff,

               V.                                          Civil Action No. 1:17-CV-228-MRH

STEVEN DELUCA, individually,
IRA BUSH, individually,
WILLIAM GOOZDICH, individually,
JACOB SACK, individually,
NICK STADLER, individually,
JERRY STEVENS, individually,
                   Defendants

    STIPULATION OF DISMISSAL WITH PREJUDICE AS TO ALL DEFENDANTS


       On this day, Plaintiff Montrice Bolden ("Plaintiff') and Defendants Steven Deluca, Ira

Bush, William Goozdich, Jacob Sack, Nick Stadler, Jerry Stevens, Joseph E. Sinnott, Donald

Dacus, and the City of Erie (together, the "Defendants"), through their undersigned counsel,

hereby stipulate and agree, pursuant to Fed. R. Civ. P. 41 (a)(l )(A)(ii), that all claims in the above

captioned action as to the Defendants are dismissed with prejudice, with all attorneys' fees, costs

of court and expenses to be borne by each party incun-ing the same. A proposed order is

attached.

RESPECTFULLY SUBMITTED:



Mincey Fitzpatrick Ross, LLC.                                  Quinn Law Firm
Kevin V. Mincey, Esquire                                       John B. Fessler, Esquire
Thomas 0. Fitzpatrick, Esquire                                 Attorney for Nick Stadler
Attorneys for Plaintiff




                                                                                                      1
        Case 1:17-cv-00228-SPB Document 86 Filed 01/29/19 Page 2 of 3



                         UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF PENNSYLVANIA

MONTRICE BOLDEN,
              Plaintiff,

               V.                                         Civil Action No. I :17-CV-228-MRH

STEVEN DELUCA, individually,
IRA BUSH, individually,
WILLIAM GOOZDICH, individually,
JACOB SACK, individually,
NICK STADLER, individually,
JERRY STEVENS, individually,
                   Defendants

    STIPULATION OF DISMISSAL WITH PREJUDICE AS TO ALL DEFENDANTS


       On this day, Plaintiff Montrice Bolden ("Plaintiff') and Defendants Steven Deluca, Ira

Bush, William Goozdich, Jacob Sack, Nick Stadler, Jerry Stevens, Joseph E. Sinnott, Donald

Dacus, and the City of Erie (together, the "Defendants"), through their undersigned counsel,

hereby stipulate and agree, pursuant toFed. R. Civ. P. 41(a)(l)(A)(ii), that all claims in the above

captioned action as to the Defendants are dismissed with prejudice, with all attorneys' fees, costs

of court and expenses to be borne by each party incurring the same. A proposed order is

attached.

RESPECTFULLY SUBMITTED:



Mincey Fitzpatrick Ross, LLC.                                   · LawFirm
Kevin V. Mincey, Esquire                                     InB.Fessler, Esquire
Thomas 0. Fitzpatrick, Esquire                               Attorney for Nick Stadler
Attorneys for Plaintiff



Office of the City Solicitor
Catherine M. Doyle, Esquire

                                                                                                  1
         Case 1:17-cv-00228-SPB Document 86 Filed 01/29/19 Page 3 of 3




                          UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF PENNSYLVANIA

MONTRICE BOLDEN,                              :
              Plaintiff,                      :
                                              :
               v.                             :           Civil Action No. 1:17-CV-228-MRH
                                              :
STEVEN DELUCA, individually,                  :
IRA BUSH, individually,                       :
WILLIAM GOOZDICH, individually,               :
JACOB SACK, individually,                     :
NICK STADLER, individually,                   :
JERRY STEVENS, individually,                  :
                   Defendants                 :

                        ORDER OF DISMISSAL WITH PREJUDICE

       Plaintiff Montrice Bolden (“Plaintiff”) and Defendants Steven Deluca, Ira Bush, William

Goozdich, Jacob Sack, Nick Stadler, Jerry Stevens, Joseph E. Sinnott, Donald Dacus, and the

City of Erie (together, the “Defendants”), have stipulated and agreed, pursuant to Fed. R. Civ. P.

41(a)(1)(A)(ii), that all claims in the above captioned action are dismissed with prejudice, with

all attorneys’ fees, costs of court and expenses to be borne by each party incurring the same.

       Accordingly, it is hereby ORDERED that all claims in the above captioned action as to

the Defendants are dismissed with prejudice, with all attorneys’ fees, costs of court and expenses

to be borne by each party incurring the same.

       DONE AND ORDERED, at ________________, this _____ day of __________, 2019.



                                                     _____________________________
                                                     United States District Court Judge




                                                                                                    2
